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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

                                                  :
                                                     MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG                   :
       “DEEPWATER HORIZON” in the                 :
       GULF OF MEXICO, on                         :
       APRIL 20, 2010                             :
                                                     SECTION: J
                                                  :
THIS DOCUMENT RELATES TO:                         :
                                                  :
ALL ACTIONS                                       :
                                                     JUDGE BARBIER
                                                  :
                                                     MAG. JUDGE SHUSHAN
                                                  :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..   . .. .. .. .. .. .. .. .. .. .. .. .. ..


                                          ORDER

       Considering the BP Parties” Ex-Parte Motion to Withdraw Exhibits From Rec. Doc. No.

4067 filed in consideration of PTO #13;

       IT IS HEREBY ORDERED that the motion is GRANTED and the exhibits listed below

shall be removed from the Docket at Record Document Number 4067 (BP’s Opposition to

Halliburton’s Motion for Leave to File Second Amended Cross-Claim):

            Exhibits B and F (Rec. Doc. No. 4067-2);

            Exhibit G (Rec. Doc. No. 4067-3);

            Exhibit J (Rec. Doc. No. 4067-4);

            Exhibit K (Rec. Doc. No. 4067-5);

            Exhibit L (Rec. Doc. No. 4067-6);

            Exhibit M (Rec. Doc. No. 4067-7);
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       Exhibit N (Rec. Doc. No. 4067-8); and

       Exhibit O (Rec. Doc. No. 4067-9).



  New Orleans, Louisiana, this _______ day of September, 2011.




            ______________________________________________________
                        HONORABLE CARL J. BARBIER
                  UNITED STATES DISTRICT COURT JUDGE




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